
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-2294

                                  RACHEL L. FENNELL,

                                Plaintiff, Appellant,

                                          v.

                     FIRST STEP DESIGNS, LTD, D/B/A HAND-IN-HAND,

                                 Defendant, Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Roy T.  Pierce with  whom Alfred C.  Frawley and Brann  &amp; Isaacson
            ______________            __________________     _________________
        were on brief for appellant.
            Peter  Bennett  with whom  Frederick B.  Finberg  and Bennett  and
            ______________             _____________________      ____________
        Associates, P.A. were on brief for appellee.
        ________________


                                 ____________________

                                     May 15, 1996
                                 ____________________






















                      STAHL, Circuit  Judge.  Rachel L.  Fennell sued her
                      STAHL, Circuit  Judge.
                             ______________

            former employer,  First  Step Designs,  Ltd. ("First  Step"),

            under Title VII and related state laws, claiming that she was

            terminated  in retaliation  for making allegations  of sexual

            harassment.     First  Step   moved  for  summary   judgment,

            presenting evidence that the decision to lay off  Fennell had

            been made prior to her complaint.  The district court granted

            summary  judgment  for First  Step,  after  denying Fennell's

            motion  for further  discovery under  Fed. R. Civ.  P. 56(f).

            Fennell had hoped that  further discovery would uncover proof

            in  First Step's  computer files  that  a memo  about planned

            layoffs, dated  prior to her  report of harassment,  had been

            fabricated.  Fennell appeals both rulings.  We affirm.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

            A.  Factual Background: Fennell's Retaliation Claim
            ___________________________________________________

                      First   Step,   a   designer,   manufacturer,   and

            distributor  of  play  equipment  for  children,  operates  a

            warehouse  and customer  service  center  in  Oxford,  Maine.

            Fennell worked as a Warehouse Lead, a supervisory position in

            which she directed the  warehouse staff in fulfilling orders.

            Although  Fennell was  a supervisor  and shared  office space

            with the Warehouse Manager, she spent most of her time on the

            warehouse  floor   working  alongside  the   other  warehouse

            workers.    Her immediate  supervisor  was  Wayne Smith,  the



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            Warehouse Manager.   Kathleen Tucker, General  Manager of the

            warehouse, was Smith's supervisor.

                      1.     Fennell's  Report  of   Harassment  and  Her
                      ___________________________________________________

            Subsequent Layoff
            _________________

                      Two First  Step employees had complained to Fennell

            about  on-the-job sexual  remarks by  Smith, and  Fennell had

            heard from other employees  about a sexually offensive remark

            Smith  had made while performing  as a country  musician at a

            company-sponsored  benefit  dance.    On  November 19,  1993,

            Fennell  met  with Tucker  and recounted  what she  had heard

            about Smith's inappropriate  remarks.  According  to Fennell,

            Tucker was  hostile.  Smith's immediate  predecessor had been

            fired  in May of 1993  for sexual harassment,  and Tucker was

            incredulous  to  hear  that  First Step  might  have  another

            harasser as Warehouse Manager.

                      On December  20, 1993,  Fennell was laid  off,1 and

            she believes her layoff was in retaliation for her complaints

            to  Tucker.  Fennell also  alleges that, after  her report to

            Tucker, she  was given inferior work  (regular packing duties

            rather than  supervisory duties).  First  Step maintains that

            Fennell's layoff was planned  before she complained to Tucker

            about Smith, and  that her complaint was not a  factor in its

            decision to lay her off.

                                
            ____________________

            1.  Fennell asserts that she was terminated, while First Step
            maintains  she was only laid off.  We address this dispute in
            Part II.B.3, our discussion of the grant of summary judgment.

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                      2.  The October 25 Memo
                      _______________________

                      A memorandum dated October 25, 1993, from Tucker to

            Eric  Schultz,  First  Step's  Boston-based  Chief  Operating

            Officer, indicated  that Fennell  was scheduled for  a layoff

            the  week  before Christmas.2    The  memo, titled  "SUBJECT:

            ANTICIPATED  LAYOFFS/STAFFING,"  listed twenty-eight  persons

            and  their continuing  positions  in the  warehouse; it  also

            listed Fennell and four  others under the subtitle "SCHEDULED

            LAYOFFS WEEK OF CHRISTMAS."   According to the affidavits  of

            Tucker and Schultz, the memorandum was a response to pressure

            from  Schultz to  reduce  operating costs  at the  warehouse.

            Tucker and  Schultz both state  in their affidavits  that the

            memorandum  was faxed  to  Schultz  on  October 25,  and  the

            document bears a hand stamp indicating that it was faxed that

            day.   Brigitte Marston,  a customer service  supervisor also

            reporting to Tucker, states  in her affidavit that she  saw a

            "layoff  list" with  Fennell's  name on  it before  Fennell's

            November 19 meeting with  Tucker. (Marston also attended that

            meeting, at Fennell's request.)  On November 5, 1993, Marston

            sent  an  internal  electronic  mail  message  ("E-mail")  to

            another employee, in  which she referred to  the layoff list.

            Marston implied in the E-mail that  she had seen the list and

            knew who was on it.

                                
            ____________________

            2.  Copies  of the  memorandum  have been  made  part of  the
            summary  judgment record  as  exhibits to  the affidavits  of
            Tucker and Schultz.

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                      Fennell contends that the memorandum was fabricated

            after the November  19 meeting.  To support  this contention,
            _____

            she  points to five facts that, she argues, are suggestive of

            fabrication: (1) one of the employees that Tucker listed  for

            an ongoing position in the  October 25 memorandum had already

            left the  company  late  that  summer, before  the  memo  was

            created; (2) Tucker  stated that she had sent other memoranda

            regarding  earlier layoffs  to Schultz,  but neither  she nor

            Schultz kept copies  of them  (only the October  25 memo  was

            retained); (3) Tucker commented to Fennell earlier in October

            1995 that  she was doing a  good job, that her  services were

            needed,  and that she would not be required to cross-train as

            a telemarketer;  (4) First Step employees  had inconsistently

            described  the  job  action  taken with  respect  to  Fennell

            (sometimes  as a layoff, other times as an elimination of her

            position)  as well as the precise reasons for the action; and

            (5)  certain other  employees  listed in  the memorandum  for

            layoff  were ultimately not laid off.  For ease of reference,

            we shall refer to these as "the five suspicious facts."

            B.  Prior Proceedings
            _____________________

                      On January  23, 1995,  Fennell filed  a three-count

            complaint in federal district  court alleging that First Step

            fired her in retaliation for her report of sexual harassment,

            in violation of Title VII of the Civil Rights Act of 1964, 42

            U.S.C.    2000e-3(a), the  Maine Human  Rights Act, Me.  Rev.



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                                          5















            Stat.   Ann.   tit.   5,      4572(1)(E),   and   the   Maine

            Whistleblower's Protection Act, Me.  Rev. Stat. Ann. tit. 26,

               833(1)(A).    On  August  4,  1995,  after  the  close  of

            discovery, First Step moved for summary judgment on all three

            counts, arguing primarily that  Fennell's layoff was  planned

            before she  lodged her sexual harassment  complaint, and thus

            was not retaliatory.   First Step asserted that there  was no

            genuine  issue  as  to  the  fact  that the  layoff  decision

            predated Fennell's complaint, because the October 25 memo and

            the corroborating testimony of  three First Step managers was

            essentially  uncontroverted.   On  August  25, 1995,  Fennell

            opposed the motion, arguing that there was a genuine issue of

            material  fact as to whether the October 25 memo was actually

            written before  she complained to  Tucker or whether  it was,

            instead,  fabricated  to  exonerate   First  Step.    In  her

            opposition  to summary judgment, Fennell requested additional

            time  for discovery under Fed. R. Civ. P. 56(f) to determine,

            based on the computer word processing file, when the memo was

            written.     On  August 28,  1995,  First Step  responded  by

            providing a diskette containing a copy of the word processing

            file of  the October 25  memo.  On  September 9, 1995,  First

            Step submitted a  reply brief and  an objection to  Fennell's

            request for  more discovery  time, supported by  an affidavit

            averring that there was no way to determine from its computer

            system when the document was first created.



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                                          6















                      The district court determined that, in light of the

            October 25 memo, Fennell had not shown evidence sufficient to

            allow  a reasonable  jury  to find  that  her layoff  was  in

            retaliation for her  complaints about sexual  harassment, and

            it granted  "conditional" summary judgment in  favor of First

            Step.   The condition was that Fennell would have, under Rule

            56(f),  "seven  (7) days  in  which  to  file  any  affidavit

            revealing competent testimony,  based on the magnetic  medium

            [i.e. the diskette containing the word processing file], that

            the memorandum was created  or modified (as opposed  to being

            simply called up) on or after November 19, 1993."3

                      Pursuant  to the  district  court's order  allowing

            limited further discovery, Fennell submitted the affidavit of

            her computer expert stating that the computer word processing

            file containing  the October 25  memo on a  magnetic diskette

            revealed  that the  document  was "autodated"4  on August  7,

                                
            ____________________

            3.  There is  no  dispute that  the October  25, 1993,  memo,
            listing  Fennell among those to  be laid off,  existed in May
            1994,  when it was  submitted by  First Step  as part  of the
            Maine Human Rights Commission fact finding process.  Thus, if
            the  document  was  fabricated  as   Fennell  maintains,  the
            fabrication occurred  sometime after  November 19, 1993,  and
            before May 1994.  

            4.  Fennell's  expert  actually  stated  that  the  memo  was
            "modified"  on August 7, 1995.   However, the  expert did not
            suggest  that there were any  textual changes to  the memo on
                                          _______
            that date.   Rather,  the expert  referred  to the  automatic
            modification of the date assigned to the document file by the
            word processing  program  after certain  commands  have  been
            entered.    For example,  the expert  stated,  "if a  file is
            'called-up' to an application  such as Wordperfect, and saved
            to a different location (whether changed or not), the date of

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                                          7















            1995.  Fennell's  expert proposed that  the original date  of

            creation  or  date  of  any  earlier  modification  could  be

            determined by  a review of  the file  as it resided  on First

            Step's  hard drive,  rather than the  diskette that  had been

            provided by First Step.       The   district  court   held  a

            hearing on  Fennell's request  for discovery of  First Step's

            hard  drive  and  then  directed  the  parties  to  submit  a

            "protocol"  under which  Fennell would  have access  to First

            Step's  hard drive.   If  no joint  protocol could  be agreed

            upon,  differences   were  to  be   resolved  by  conference.

            Subsequently, the parties  submitted substantially  different

            protocols.

                      After  reviewing the protocols, and without holding

            another  conference,  the  district court  decided  that  its

            earlier decision to consider  further discovery had been ill-

            advised.   Accordingly,  the  court denied  any further  Rule

            56(f)  discovery, and  granted  First Step  summary judgment.

            This appeal ensued.

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________


                                
            ____________________

            saving is shown as the modification date."  In an attempt  to
            achieve some  clarity, we shall refer to such a change to the
            date  of  a computer  file not  as  a "modification,"  but as
            "autodating."   We consider "modification," as  that term was
            used  by the district court, to mean  a change in the text of
            the document that  would appear  on a paper  printout of  the
            document, as opposed to  changes to the date assigned  to the
            computer file containing the document text. 

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                                          8















                      Fennell  appeals  the  district  court's  grant  of

            summary  judgment  in favor  of First  Step,  as well  as its

            denial  of  her request  for  additional  discovery of  First

            Step's  computer  files  in  the  hope  that  she  might find

            evidence that  the October 25  memo was fabricated  after the

            fact.  Because summary judgment would have been inappropriate

            if  Fennell  had presented  evidence  that  the  memo  was  a

            perjurious fabrication, we  will address the discovery  issue

            first.

            A.  Denial of Rule 56(f) Discovery
            __________________________________

                      We review a district  court's ruling on a discovery

            request  under Fed. R. Civ. P. 56(f) for abuse of discretion.

            Price  v. General Motors Corp.,  931 F.2d 162,  164 (1st Cir.
            _____     ____________________

            1991).  Federal Rule of Civil Procedure 56(f) provides:

                      Should it appear from the affidavits of a
                      party  opposing  the  [summary  judgment]
                      motion  that the party cannot for reasons
                      stated   present   by   affidavit   facts
                      essential   to    justify   the   party's
                      opposition,  the  court  may  refuse  the
                      application for  judgment or may  order a
                      continuance  to  permit affidavits  to be
                      obtained  or depositions  to be  taken or
                      discovery to  be  had or  may  make  such
                      other order as is just.

            To  receive the benefit of  Rule 56(f), the  "movant must (1)

            articulate a plausible basis for the belief that discoverable

            materials exist  which would  raise a trialworthy  issue, and

            (2) 'demonstrate good cause for failure to have conducted the

            discovery  earlier.'"    Price,  931  F.2d  at  164  (quoting
                                     _____



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            Paterson-Leitch  Co.  v. Massachusetts  Mun.  Wholesale Elec.
            ____________________     ____________________________________

            Co.,  840 F.2d  985,  988 (1st  Cir.  1988)).   Although  the
            ___

            district court did not use these precise words, it denied any

            further  Rule 56(f) discovery essentially because Fennell did

            not  articulate  a  plausible   basis  for  the  belief  that

            discoverable  materials existed  which  would  have raised  a

            trialworthy issue.   For  purposes of  our analysis, we  will

            assume, but  need  not decide,  that  Fennell met  the  "good

            cause" element.

                      Fennell argues that the district court should  have

            allowed  Rule  56(f) discovery  of  First  Step's hard  drive

            because her expert  established that the October  25 memo was

            "autodated"  on   August  7,  1995.     Fennell  argues  that

            regardless  of  whether  the autodating  was  intentional  or

            inadvertent,  it obscured  the  date of  the document's  last

            prior modification  or, if  there was no  prior modification,

            the  date  of  its   creation,  thus  rendering  those  dates

            uncertain.  Fennell maintains that First Step must "live with

            that uncertainty," by which she means that there is a genuine

            dispute  as  to  the date  on  which  the  memo was  written.

            Fennell emphasizes that First  Step's summary judgment motion

            is  based in  large  part  on the  memo,  as  proof that  the

            business decision to  lay off Fennell predated  her report of

            sexual  harassment.    Fennell   also  points  to  the  "five

            suspicious facts" noted earlier as support for her contention



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                                          10















            that there is a  plausible basis for her belief  that further

            discovery will  yield evidence that the  memo was fabricated.

            We begin our analysis with  a review of the discovery-related

            proceedings below.

                      We  note at the outset that First Step did not file

            its  motion for  summary  judgment until  after the  close of

            discovery pursuant  to the  district court's  pretrial order.

            Fennell's  original  discovery  request  did not  make  clear

            whether it called for a diskette  copy of the memo or a paper

            "original."   In  any event,  there is  no indication  and no

            allegation that First Step withheld the diskette from Fennell

            in bad faith.

                      Despite  the  district  court's determination  that

            Fennell's opposition to summary judgment had not demonstrated

            any genuine  dispute as to  First Step's contention  that its

            decision to lay off Fennell preceded her complaint, the court

            granted  a seven-day extension  to allow  Fennell to  file an

            affidavit  providing some  computer-based  evidence that  the

            memo  was fabricated and antedated.  By this time, a diskette

            containing the memo's computer  file was already in Fennell's

            hands,  thus  the  proposed  extension did  not  involve  any

            intrusion or impose costs upon First Step.

                      In compliance with the discovery extension, Fennell

            submitted the affidavit of  her computer expert, which stated

            that analysis of the  diskette containing the word processing



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                                          11















            file  of the October 25  memo revealed that  the document was

            "autodated" on August 7, 1995.  The district court determined

            that the computer expert's affidavit  did not reveal that the

            memorandum  was "created  or  modified (as  opposed to  being

            simply called up) on or after  November 19, 1993."  In  other

            words, the affidavit was not probative of any fabrication.

                      Fennell's expert proposed that the original date of

            creation  or  date  of  last textual  modification  could  be

            determined  by  review of  the file  as  it resided  on First

            Step's  hard drive.  On the other hand, a First Step employee

            had  stated, in  an affidavit  previously  filed in  reply to

            Fennell's opposition to summary  judgment, that First  Step's

            computer  consultant determined  that  its  system could  not

            reveal  the date on which  the document was  first created or

            last textually modified.

                      The district court held a conference  after Fennell

            filed  her computer  expert's  affidavit.   After considering

            Fennell's  proposal that  access to  First Step's  hard drive

            might  reveal  the date  of creation  or modification  of the

            October 25 memo,  the district court directed the  parties to

            submit  a "protocol"  establishing  the  procedures by  which

            Fennell  would have  access  to relevant  materials on  First

            Step's  hard  drive.    The  district  court  cautioned  that

            discovery would be allowed only if the protocol  ensured that

            hard  drive access would have  a "minimal degree of intrusion



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                                          12















            time-wise   and   interference-wise"   with    First   Step's

            operations,  and  if  it  provided  "adequate  assurances  of

            confidentiality."

                      Fennell  provided a protocol requiring a specialist

            to  "mirror" First  Step's entire  hard drive,  and take  the

            mirror  copy to its facility in  Canada for complete analysis

            and  ultimate erasure.5    First Step  objected to  Fennell's

            protocol and provided its own protocol.6

                      After  reviewing the  two protocols  and apparently

            recognizing  that   the  parties  were   unlikely  to   reach

            consensus,  the  district court  concluded  that its  earlier

                                
            ____________________

            5.  Fennell's  protocol  proposed, in  sum: (1)  a conference
            call between the parties  and their computer  representatives
            to discuss the computer  system configuration; (2) an on-site
            visit at  First Step's warehouse where  counsel would observe
            Fennell's computer  representative create a  "mirror" of  the
            target hard drive;  (3) an  off-site analysis  of the  mirror
            hard drive by a specialty laboratory, whereby the technicians
            would attempt to determine  the creation date or modification
            date of the relevant files; (4) the erasure or destruction of
            the  mirror hard  drive, certified  by affidavit;  and (5)  a
            protective order stipulating, in sum, that all information on
            the  mirror   hard  drive  not  relating   to  the  creation,
            modification,   or  erasure,   of  the   relevant  files   is
            confidential.

            6.  First Step  objected to Fennell's protocol because, inter
                                                                    _____
            alia,  it: (1)  failed  to describe the  methodology by which
            ____
            the technicians  would attempt  to determine the  creation or
            modification dates (First Step noted that its computer system
            contains  many  hard  drives,  and  expressed  concerns  over
            business   risks   resulting  from   accidental   data  loss,
            incompatible  hardware,  and system  downtime);  (2)  did not
            adequately address attorney-client privilege and work product
            concerns as to  other documents  on the hard  drive; and  (3)
            allowed  unsupervised possession  of the  mirror drive.   The
            district  court described  the  detailed protocol  that First
            Step proposed as "extremely cumbersome and expensive."

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                                          13















            decision  to  permit  additional  discovery  had  been  "ill-

            advised" because  it  would involve  "a 'fishing  expedition'

            without   any   particularized   likelihood  of   discovering

            appropriate information,"  while, "[a]t  the  same time,  the

            process involves substantial risks and costs."  To inform our

            judgment whether the denial of further discovery was an abuse

            of  the district  court's  discretion, we  first address  the

            district court's  conclusion that the "risks  and costs" were

            substantial,  and  then  its  conclusion  that  the  proposed

            discovery was a "fishing expedition."

                      1.  Risks and Costs
                      ___________________

                      A  party seeking  discovery under  Rule  56(f) must

            "articulate   a  plausible   basis   for   the  belief   that

            discoverable materials exist which  would raise a trialworthy
            ____________

            issue."    Price,  931 F.2d  at  164  (emphasis  added).   In
                       _____

            determining  whether  material is  "discoverable,"  the court

            should  consider  not  only  whether  the  material  actually

            exists, but  the burdens  and expenses entailed  in obtaining

            the  material.   See Fed.  R. Civ.  P. 26(b)(2).7   Discovery
                             ___

                                
            ____________________

            7.  Fed. R. Civ. P. 26(b)(2) provides:
             
                      The  frequency or  extent  of use  of the
                      discovery  methods   otherwise  permitted
                      under these rules .  . . shall be limited
                      by the court if it determines that: . . .
                      (iii)  the  burden  or  expense   of  the
                      proposed  discovery outweighs  its likely
                      benefit, taking into account the needs of
                      the case, the amount in  controversy, the
                      parties' resources, the importance of the

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                                          14















            matters  are  for the  informed  discretion  of the  district

            court,  and the breadth  of that discretion  in managing pre-

            trial  mechanics  and discovery  is  very  great.   Fusco  v.
                                                                _____

            General Motors  Corp., 11 F.3d 259, 267  (1st Cir. 1993).  In
            _____________________

            exercising this broad discretion,  the district court in this

            case  balanced  the  costs,  burdens,  and  delays  that  the

            proposed  discovery entailed,  as well  as the  likelihood of

            discovering  evidence  of  fabrication,  against  the obvious

            importance of the evidence  sought.  See Resolution Trust  v.
                                                 ___ ________________

            North  Bridge  Assoc., 22  F.3d  1198, 1203  (1st  Cir. 1994)
            _____________________

            (party  seeking  Rule 56(f)  discovery  "should  set forth  a

            plausible   basis  for   believing   that  specified   facts,

            susceptible  of collection  within a  reasonable time  frame,
            ____________________________________________________________

            probably exist")(emphasis added).

                      The district court recognized First Step's concerns

            over   Fennell's insufficiently  detailed description  of the

            proposed  analysis  of  the  hard  drive,8  as  well  as  the

            confidentiality  of information  on the  hard drive  that was

            proprietary or  subject to attorney-client privilege or work-

                                
            ____________________

                      issues  at stake  in the  litigation, and
                      the importance of the  proposed discovery
                      in resolving the issues.

            8.  First Step argued that  Fennell's failure to disclose the
            specific technical steps to  be taken in the analysis  of the
            mirrored  drive rendered  her  protocol nothing  more than  a
            proposal for a  fishing expedition.   First Step also  argued
            that the unknown mirroring process and analysis of its system
            might temporarily or permanently affect their computer system
            and business operations.

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                                          15















            product privilege.   The district court  also recognized that

            resolving  the discovery dispute,  and the  discovery process

            itself, would increase legal and  expert fees.  The protocols

            alerted  the district  court to genuine  problems surrounding

            the  proposed  discovery of  First  Step's  hard drive.    In

            exercising  its  discretion,  the district  court  reasonably

            concluded   that  the   discovery   process   would   involve

            substantial risks and costs.  See id.
                                          ___ ___

                      2.  A Fishing Expedition?
                      _________________________

                      The  district court  determined  not only  that the

            risks and  costs of  further discovery were  substantial, but

            also  that  Fennell  had not  demonstrated  "a particularized

            likelihood  of  discovering  appropriate  information."    We

            agree.   In our view, Fennell did not sufficiently "set forth

            a  plausible  basis  for  believing   that  specified  facts,

            susceptible of  collection  within a  reasonable time  frame,

            probably exist."  Id. (party seeking discovery must show that
                              ___

            it will not be an "exercise in futility").

                       As  to "susceptibility of collection," all Fennell

            was  able to  say was  that "there  may be  a way."   Fennell

            submitted  the affidavit  of her  expert, proposing  that the

            original date of creation or date of any earlier modification

            of the October 25 memo could be determined by a review of the

            memo  file as it resided  on First Step's  hard drive, rather

            than  on  the diskette  originally  provided  by First  Step.



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                                          16















            First Step  submitted a reply to  Fennell's expert affidavit,

            which   argued  that   Fennell's  expert's   statements  were

            conclusory,   without   foundation,   and    that   Fennell's

            speculation  and  conjecture   did  not  warrant   additional

            discovery.  The  district court  then held a  hearing on  the

            discovery issue, at which the following was stated:

                           [The Court:]  It's  my understanding
                      that based  upon telephone communications
                      as  recently as today,  that [Fennell] is
                      informed  by  the  [computer experts  who
                      were to analyze  the mirrored hard drive]
                      that they cannot reach a  conclusion from
                      the  disk that  has  been  provided,  but
                      instead, that the only way they can reach
                      any  kind of  conclusion is by  access to
                      the   hard   drive   on  [First   Step's]
                      premises.  That at this time, they cannot
                      guarantee that  there  they can  reach  a
                      conclusive  result,  but that  it's their
                      position  there may  be a  way.   Is that
                      essentially correct?  

                           [Counsel   for  Fennell:]     That's
                      correct, Your Honor.

            The lack of detail in Fennell's protocol cast even more doubt

            on  the soundness  of the technical  basis for  the discovery

            venture.  The district court had good reason to be skeptical,

            based  on  Fennell's  inadequate  showing  that the  proposed

            analysis could determine the memo's creation date.

                      As  to  whether "specified  facts  .  . .  probably

            exist," Fennell presented precious little that suggested that

            fabrication had occurred.   The "autodating" that occurred on

            August  7, 1995, could  not have indicated  that the document

            was fabricated on  that day,  as it had  been submitted  more


                                         -17-
                                          17















            than  a  year  earlier   in  the  state  proceedings.     The

            "autodating"  could  indicate  an  intentional  conspiracy to

            cover  up  the  document's  fabrication  by  obliterating the

            actual creation date, but that is mere speculation.  

                      The  "five  suspicious facts,"  enumerated earlier,

            are equally speculative.  We fail to see how the inclusion of

            an employee who  had already left the company  on the list of

            employees  to  be  retained  makes fabrication  more  likely.

            Fennell argues that the  mistake indicates that the memo  was

            prepared  at a later point  in time, when  Tucker's memory of

            who was employed  would have  faded.  That  inference is,  at

            best, extremely attenuated.

                      The  fact that  the  October 25  memo was  retained

            while  other  similar memos  are  no  longer extant  is  also

            virtually non-probative.  It would be natural for an employer

            to take care to retain a memo pertaining to an employee, soon

            to be laid off, who had lodged a sexual harassment complaint.

            Moreover, Fennell  filed a  state human rights  charge within

            ninety days of her complaint, thus the desirability of saving

            any documents relating to her termination became obvious soon

            after the memo was  written.  Nothing in the  record suggests

            any similar reasons for saving the earlier memos.

                      The fact  that  Tucker had  made positive  comments

            about Fennell's performance and job security and First Step's

            future  shortly before she was  placed on the  layoff list is



                                         -18-
                                          18















            not necessarily probative of fabrication, either.  First Step

            does not assert that Fennell was let go for poor performance,

            but rather that her termination  was part of a reorganization

            dictated  by financial concerns unrelated to her performance.

            The need for her services until the end of the Christmas rush

            could have been one reason Tucker spoke as she did.

                      Fennell   claims   that    First   Step    managers

            inconsistently described  the nature  of and the  reasons for

            the job action, but our review of all the statements shows no

            sinister inconsistency.   It  appears that the  term "layoff"

            was used  loosely, and  was not necessarily  indicative of  a

            temporary, rather than a permanent,  action.  And the various

            statements  about  why  she  was  let  go,  while  worded  in

            different ways, all relate to First Step's business objective

            of  improving  the  economic  efficiency   of  its  warehouse

            operation.  We see nothing out-of-the-ordinary  or suspicious

            about the statements.  

                      Finally,  the fact  that some employees  slated for

            layoff in the  memo were  ultimately not laid  off might  say

            something  about the finality of the layoff list as a general

            matter, but we fail  to see how it suggests  fabrication.  It

            is  true that  only two  of the  five individuals  slated for

            Christmas week  layoffs were actually laid  off as scheduled,

            but  the  record  indicates  non-suspicious  reasons  for the

            changes in First Step's plans.  Two of the three who survived



                                         -19-
                                          19















            the  axe  stayed  on   in  telemarketing  because  two  other

            telemarketers requested layoffs.   The other employee was out

            with  an  injury   collecting  worker's  compensation  during

            Christmas week; at  the urging of  First Step's insurer,  she

            was called  back to  light duty after  the New Year  and then

            laid  off  shortly  thereafter.     And,  even  ignoring  the

            apparently legitimate reasons why  some of the slated layoffs

            did  not occur, the changes in First Step's staffing plans do

            not suggest  fabrication.  Why would a fabricated layoff list

            be more likely to  name employees eventually retained  than a

            real  layoff list?  Wouldn't a fabricated list, written after

            the  fact, have  the benefit  of hindsight  and thus  be more
                                                                     ____

            accurate?  We see little  probative value in this, or  any of

            the other "five suspicious facts."

                      3.  Conclusion:  No Abuse of Discretion
                      _______________________________________

                      Even  if  we were  inclined  to  disagree with  the

            district court's assessment of Fennell's arguments, which  we

            are not,  we reverse a district court's discovery ruling only

            for  abuse of  discretion.   While there  may be  cases where

            discovery of word  processing files on a computer  hard drive

            might  well be warranted, Fennell  has not met  her burden of

            demonstrating that the  district court abused its  discretion

            in denying that  opportunity here.   Thus, we  hold that  the

            district  court acted  within  its discretion  in disallowing

            further   Rule  56(f)   discovery,  given   its  conclusions,



                                         -20-
                                          20















            supported by the record, that (1)  the discovery would entail

            substantial  risks  and  costs,  and  (2)  there  was  little

            particularized  basis   to  believe  that   any  evidence  of

            fabrication could be discovered by Fennell's experts.













































                                         -21-
                                          21















            B.  Grant of Summary Judgment for the Defendant First Step
            __________________________________________________________

                      1. Standard of Review
                      _____________________

                      We review a grant of  summary judgment de novo, and
                                                             __ ____

            like the district court, we are obliged to view the  facts in

            the light most favorable to the non-moving party, drawing all

            reasonable  inferences in  that  party's favor.   Mesnick  v.
                                                              _______

            General Elec. Co., 950  F.2d 816, 822 (1st Cir.  1991), cert.
            _________________                                       _____

            denied, 504 U.S. 985 (1992).  Summary judgment is appropriate
            ______

            when "the pleadings, depositions, answers to interrogatories,

            and admissions on file, together with the affidavits, if any,

            show that there  is no genuine issue as to  any material fact

            and that the moving party is entitled to judgment as a matter

            of law."   Fed. R. Civ.  P. 56(c).  "[T]he  mere existence of

            some  alleged factual  dispute between  the parties  will not
            ____

            defeat  an  otherwise properly  supported motion  for summary

            judgment;  the requirement is that  there be no genuine issue
                                                            _______

            of material fact."  Anderson v. Liberty Lobby, Inc., 477 U.S.
               ________         ________    ___________________

            242,  247-48  (1986).   "Moreover,  summary  judgment may  be

            appropriate `[e]ven  in cases where elusive  concepts such as

            motive or  intent are at issue, . . . if the non-moving party

            rests   merely   upon   conclusory  allegations,   improbable

            inferences, and unsupported speculation.'"  Woods v. Friction
                                                        _____    ________

            Materials, Inc.,  30 F.3d 255,  259 (1st Cir.  1994) (quoting
            _______________

            Medina-Munoz v. R.J. Reynolds Tobacco Co., 896 F.2d 5, 8 (1st
            ____________    _________________________

            Cir.  1990)).  Finally, Fed.  R. Civ. P.  56(c) "mandates the



                                         -22-
                                          22















            entry of summary judgment, . . . upon motion, against a party

            who fails  to  make a  showing  sufficient to  establish  the

            existence of an  element essential to that  party's case, and

            on which that party will bear the burden of proof  at trial."

            Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
            _____________    _______

            2.  Retaliatory Discharge: The Legal Framework
            ______________________________________________

                      Although   Fennell   has  framed   her  retaliatory

            discharge claims  in  one federal  count  and two  state  law

            counts,   the  parties   agree   that  the   well-established

            analytical  framework used  in  Title VII  retaliation claims

            applies to the state law counts  as well.  Thus, for purposes

            of this appeal, we treat all three counts as  subsumed in the

            Title VII count.

                      Where,  as in  this case  and in  retaliation cases

            generally,  there is  no direct  evidence of  the defendant's

            retaliatory  animus,  the  McDonnell Douglas  burden-shifting
                                       _________________

            framework  is  used  to  allocate and  order  the  burdens of

            producing evidence.  See Mesnick, 950 F.2d at 827 (explaining
                                 ___ _______

            the interplay between the burden-shifting framework set forth

            in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), and
               _______________________   ______

            the standards  for summary judgment).   To establish  a prima

            facie case of  retaliation, Fennell must  show that: (1)  she

            engaged  in  protected  conduct  under Title  VII  (or  here,

            Maine's Human Rights Act or Whistleblower's Protection  Act);

            (2)  she suffered  an adverse  employment action;  and  (3) a



                                         -23-
                                          23















            causal connection existed  between the protected conduct  and

            the adverse action.  See, e.g., Hoeppner v. Crotched Mountain
                                 ___  ____  ________    _________________

            Rehabilitation Ctr., 31 F.3d 9, 14 (1st Cir. 1994).
            ___________________

                      Once  a  prima facie  showing  has  been made,  the

            burden shifts  to the  defendant to articulate  a legitimate,

            non-retaliatory  reason for  its employment  decision.   See,
                                                                     ___

            e.g., Mesnick, 950  F.2d at 827.9  If  the defendant does so,
            ____  _______

            the ultimate burden falls  on the plaintiff to show  that the

            proffered legitimate reason is in fact a pretext and that the

            job  action was  the  result of  the defendant's  retaliatory

            animus. See St.  Mary's Honor  Ctr. v. Hicks,  509 U.S.  502,
                    ___ _______________________    _____

            510-11  (1993); Mesnick,  950  F.2d at  827-28.   On  summary
                            _______

            judgment, the  need to  order  the presentation  of proof  is

            largely obviated, and a court  may often dispense with strict

            attention to the  burden-shifting framework, focusing instead

            on whether the  evidence as a whole is sufficient to make out

            a jury question as to pretext and discriminatory animus.  Id.
                                                                      ___

            at 827.

            3.  Application to Fennell's Case
            _________________________________



                                
            ____________________

            9.  Mesnick  dealt with  a claim  of retaliation  for conduct
                _______
            protected  by  the  Age   Discrimination  in  Employment  Act
            ("ADEA"). 29 U.S.C.    621-634.  The analytical framework for
            ADEA discrimination and retaliation cases was patterned after
            the framework  for Title  VII cases,  and our  precedents are
            largely interchangeable.  See, e.g., Hazel v. U.S. Postmaster
                                      ___  ____  _____    _______________
            General, 7  F.3d 1, 3-4  (1st Cir. 1993)  (applying McDonnell
            _______                                             _________
            Douglas  framework  and  a  unified  retaliation  analysis to
            _______
            claims under both the ADEA and Title VII).

                                         -24-
                                          24















                      Although First Step  refutes that Fennell has  even

            made  out a  prima facie  case  of retaliation,  the district

            court apparently assumed that she did.  The plaintiff's prima

            facie burden is  not onerous, and  we find that she  met that

            burden  by   demonstrating,  among  other  things,  that  her

            termination occurred shortly after her protected conduct, the

            report of harassment.   See Oliver  v. Digital Equip.  Corp.,
                                    ___ ______     _____________________

            846 F.2d  103,  110 (1st  Cir.  1988) (discharge  soon  after

            protected conduct is strongly suggestive of retaliation).

                      Fennell  cannot seriously  dispute that  First Step

            met  its burden of articulating a legitimate, non-retaliatory
                               ____________

            reason for her discharge:  that economic and business reasons

            led  First Step  to  decide  to lay  her  off, and  that  the

            decision was made prior to her complaint.  Thus, we arrive at

            the dispositive question: whether Fennell has, on the summary

            judgment record, established genuine  issues of fact that (1)

            First Step's  business  reasons were  a pretext  and (2)  her

            discharge  was  in  retaliation  for her  reports  of  sexual

            harassment.

                      The district court granted summary judgment because

            it held that Fennell had not  shown a genuine issue as to the

            fact that First Step decided to discharge her before she made

            the  report  of  sexual  harassment.   The  linchpin  of  the

            district  court's holding  was the  October 25  memo, listing

            Fennell among those to be laid off.  Fennell asserts that the



                                         -25-
                                          25















            memo was fabricated some time after her report of harassment.

            We discussed Fennell's assertions of fabrication in analyzing

            the discovery  issue, and we  found them to  be unpersuasive.

            For the reasons stated in that analysis, we hold that Fennell

            has not presented evidence that would allow a reasonable jury

            to  find that  the  memorandum was  fabricated.   At  bottom,

            Fennell's  fabrication   claims  amount   to  no   more  than

            "conclusory    allegations,   improbable    inferences,   and

            unsupported speculation."  Medina-Munoz, 896 F.2d at 8.
                                       ____________

                       In addition to the  memo, First Step also provided

            the  uncontroverted affidavits  of three employees  who swear

            that Fennell was  on a list of employees to  be laid off, and

            they  saw  the  list  before  she  lodged  her  complaint  of

            harassment.   Given  the memo  and the  three affidavits,  we

            conclude  that Fennell  has failed  to demonstrate  a genuine

            issue as to whether First Step's layoff decision predated her

            complaint.   Thus, no  reasonable jury could  find that First

            Step's   business-related,   non-retaliatory     reason   for

            Fennell's layoff decision  was a  pretext --  it cannot  have

            retaliated for conduct that had yet to occur.

                      Fennell  also  argues that  even  if  the memo  was

            legitimate   and   predated  her   report,  the   job  action

            contemplated  in the memo was  vague and not  final, and that

            retaliatory animus  motivated her ultimate  termination.   We

            are  not  persuaded.   The  October  25  memo  used the  term



                                         -26-
                                          26















            "layoff,"  and Smith used the  same term in  his December 20,

            1993,  letter informing Fennell  of her discharge.   The next

            day, Tucker wrote Fennell a  letter stating that her position

            had been eliminated.  Fennell argues that the October 25 memo

            contemplated a "layoff," from which  she would be called back

            when  work was available, but that in fact she was terminated

            and her position  eliminated.  First  Step counters that  she

            was laid off because her position was eliminated, and that it

            would  have  brought  Fennell  back from  layoff  if  another

            supervisory  position opened  for  which she  was  qualified.

            First Step states that it did  not transfer Fennell to a non-

            supervisory  position because  it does  not  generally demote

            supervisors to line positions, believing that morale problems

            result.   Our  view of  the summary  judgment record,  viewed

            favorably  to  Fennell, leads  to the  inescapable conclusion

            that the pre-complaint  decision to "lay  off" Fennell was  a

            decision to  eliminate her position, rather  than a temporary

            measure with the expectation  that she would be called  back.

            After reviewing the entire  record, we hold that  Fennell has

            not  presented evidence that would allow a reasonable jury to

            find that  First Step had  originally decided merely  to "lay

            off"  Fennell but then later decided to take a more permanent

            action in retaliation for her complaint.

                      We  also reject  Fennell's  argument that  the pre-

            complaint decision to lay  her off was not a  final decision,



                                         -27-
                                          27















            and that it could  have been reconsidered later, but  was not

            because of her complaint.   We agree with the  district court

            that  "could have" is not  enough.  Fennell  has presented no

            evidence  that there  was later  reconsideration or  that the

            decision  was not  final.   We recognize  that certain  other

            employees on  the layoff list  were ultimately  not laid  off

            because of changed circumstances  relevant to their jobs, but

            that  fact standing alone  says little  or nothing  about any

            changes   in   circumstance   that   might   have    led   to

            reconsideration of Fennell's job future.

                      Fennell makes one other argument worthy of mention.

            She claims that after her  complaint of sexual harassment she

            was  "immediately demoted  to a lesser  position."   She does

            not,  however, develop this argument in her brief, and we are

            not clear  whether she raises  it as a  separately actionable

            act  of retaliation or as  evidence of the retaliatory animus

            behind  her termination.  In  either case, we  agree with the

            district court's rejection of  her demotion argument.  It  is

            difficult to see how her assignment  to packing duties during

            the Christmas season  rush amounts to a demotion,  given that

            in her  affidavit she described  her earlier duties  thus: "I

            spent  most of  my time  as Warehouse  Lead on  the warehouse

            floor  working alongside  other warehouse  employees."    The

            demotion  argument has not raised any  genuine issues of fact

            as  to retaliation, and in  any event the  argument is waived



                                         -28-
                                          28















            for failure  to develop it  fully in her  brief.   See, e.g.,
                                                               ___  ____

            Ryan  v. Royal  Ins. Co., 916  F.2d 731, 734  (1st Cir. 1990)
            ____     _______________

            (explaining  that   issues  adverted   to  on  appeal   in  a

            perfunctory   manner,   unaccompanied   by   some   developed

            argumentation, are deemed to have been abandoned).

                      Fennell points to a variety of other facts as proof

            that  First Step could not  have wanted to  discharge her for

            legitimate business  reasons.  These other  facts include her

            value  as an employee, her  awards for Employee  of the Month

            and the Year, her utility in  performing the annual inventory

            to be performed shortly  after her layoff, the fact  that the

            First Step catalogue  was featured on the  Oprah Winfrey show

            shortly before her layoff, and First Step's plans for a large

            mailing  of catalogues  in  January 1994.    In essence,  she

            attempts to second-guess First Step's  business judgment that

            a leaner warehouse management team -- that is, a team without

            Fennell  -- was desirable.   None  of these  other assertions

            creates  a genuine issue of  fact as to  whether First Step's

            reasons  for  termination were  a  pretext, in  light  of the

            October  25 memo and  the three affidavits  averring that the

            layoff list was made before Fennell's complaint.  "Courts may

            not sit as super  personnel departments, assessing the merits

            -- or even the rationality -- of employers' nondiscriminatory

            business decisions."  Mesnick, 950 F.2d at 825.
                                  _______





                                         -29-
                                          29















                      In  the  absence  of  a  genuine issue  as  to  the

            authenticity  of the October 25 memo scheduling Fennell for a

            layoff,  Fennell is  left with  only conjecture  and innuendo

            that her termination was an act of retaliation.  The district

            court appropriately granted summary judgment for First Step.











































                                         -30-
                                          30















                                         III.
                                         III.
                                         ____

                                     Conclusion 
                                     Conclusion 
                                     __________

                      For  the foregoing  reasons,  the judgment  of  the

            district court is affirmed.
                              ________













































                                         -31-
                                          31









